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                         Exhibit 7
                             Case 1:22-cv-00601-CRC                Document 46-7                    Filed 02/19/25                   Page 2 of 2 EXHIBIT



 M
                                                                                                                                                              WMATA 11
                                                RTRA Trainin_g Request Form

   Use this Form for Relnstruction and Retumed to Dutv (RTD)                                  Please Print all Information
. EniplQyee Name.: ·:.· ·: . .                 . . Employ~ _l\lumbef ·· : l:>_ivision ·.•:: .        ta~_Day,_WoJ.!<~~ ,:~i'.
DOMENIC JOHNSON                                                        024639                            Alexandria                        04/29/2019

                                                        _lnc!cle1~t-TYP~:,~::.:C':·:...::>.:..:-~~ . ;.. ::.·:: ...:..:.:~.
                                                        Station Overrun .
.: ... . l
Rule/Violation ·: . ·
                             ..    . .
                                                                                                         ~::«!~?~-.:.· :~~                   Cl~red Medical : :"
 Second Station Overrun within a week                                                                           No             N/A

•For emolovees returnina from an Inactive status, please assure that a PAR has been created ..and forwarded
                                                                                                                              . .·         .. : '   ··•   ''·:(
                                              . . Brief Synopsis of lnci~ent·or Reason Out;·· ·
  . :· · . · :.. ,I :·   -   ...
        : . . I .
 .... . ··:-.;.                          '.
                                                   (Division Sunerfntendent/Chlef Oneratlons Supervisor)
                                                                                                                                     . .            ...   . ?·. ··.   . •.. ..
                                                                                                                                                                         .-: .
       ..        ;

 Train Operator Domenic Johnson overran Braddock Road Station by one door leaf. However,

this is her second station overrun within a week.




                                              An,a Below for Rail Training Instructor Use Only
 Dates Reported                                                                     Dates of Training

 Instruction Provided

 Enrolled in: Blue and Yellow Line Familiarization on 4-29-2019. GM




 How could Incident have bBBn prevented?




 Training Instructor                                           Signature & Date
 Charlie Richardson Jr




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                                                                                                                               WMATA000045
